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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                               West Palm Beach Division

                          CASE NO.:


  WILLIAM PICKRELL, SUSAN STOKES, MARK F. WOODARD,                  )
  LARRY R. WRYE, MICHAEL SENECAL, & GEORGE STRIPLING                )
  as Trustees of the PLUMBERS & PIPEFITTERS LOCAL UNION NO. 630     )
  PENSION-ANNUITY TRUST FUND, the PLUMBERS & PIPEFITTERS            )
  LOCAL UNION NO. 630 WELFARE FUND and the PLUMBERS &               )
  PIPEFITTERS LOCAL UNION NO. 630 JOINT APPRENTICE &                )
  TRAINING TRUST FUND,                                              )
                                                                    )
        Plaintiffs,                                                 )
                                                                    )
  vs.                                                               )
                                                                    )
  KUCHAR MECHANICAL, INC., a Florida Corporation                    )
                                                                    )
        Defendant.                                                  )
  __________________________________________________________________/
                                             COMPLAINT

        Plaintiffs WILLIAM PICKRELL, MARK F. WOODWARD, LARRY R. WRYE,

  SUSAN STOKES, MICHAEL SENECAL, and GEORGE STRIPLING as TRUSTEES OF THE

  PLUMBERS & PIPEFITTERS LOCAL UNION NO. 630 PENSION-ANNUITY TRUST

  FUND, PLUMBERS & PIPEFITTERS LOCAL UNION NO. 630 WELFARE FUND, and

  PLUMBERS & PIPEFITTERS LOCAL UNION NO. 630 JOINT APPRENTICE AND

  TRAINING TRUST FUND, (the “Trustees” or the “Funds”) sue Defendant KUCHAR

  MECHANICAL, INC., (the “Defendant”) as follows:

               I.     NATURE OF ACTION, JURISDICTION, AND VENUE

  1.    This is a delinquent contributions collection action, brought by the Trustees on behalf of

        the Funds, which arises under the laws of the United States that contain their own

        jurisdictional requirements: Sections 502 and 515 of the Employee Retirement Income
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       Security Act of 1974 (“ERISA”), 29 U.S.C. §1132 and §1145.

  2.   Pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §1132(e)(2), venue is proper in this

       Court because the Trustees administer the Funds and Defendant’s breach occurred in

       Palm Beach County, Florida.

                                          II.   PARTIES

  3.   The Trustees have been at all times material hereto, trustees and fiduciaries within the

       meaning of Section 3(21)(A) of ERISA, 29 U.S.C. §1002(21)(A).              The Funds are

       “employee benefit plans” and “multiemployer plans” as defined by Sections 3(3) and

       3(37) of ERISA, 29 U.S.C. §1002(3) and §1002(37).

  4.   Upon information and belief, Defendant is Florida corporation doing business under the

       name KUCHAR MECHANICAL, INC., and has a principal business address of 3113

       Sunrise Blvd., Fort Pierce, FL 34982.

  5.   Defendant is an “Employer” within the meaning of Section 3(5) of ERISA, 29 U.S.C.

       §1002(5).

                                   III.    CAUSE OF ACTION

  6.   Defendant agreed to be bound and remains bound and paid contributions to the Funds

       pursuant to a collective bargaining agreement as it related to wage rates and contribution

       obligations to the Funds.

  7.   A true and correct copy of the most current collective bargaining agreement is attached as

       Exhibit 1 and that collective bargaining agreement remains in full force and effect.

  8.   Defendant employed persons within the trade and territorial jurisdiction of the collective

       bargaining agreement and thus, became obligated to pay all fringe benefit contributions

       and other payments to the Funds on a timely basis that are due to the Funds.


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  9.     Defendant breached said agreement by failing to make full and complete payment of the

         fringe benefit contributions and other payments that were due to the Funds for payroll

         periods after January 31, 2018 and by failing to post a $5,000.00 bond as demanded by

         the Trustees.

  10.    The Trustees have been required to employ the undersigned attorneys to collect the

         monies that are owed by Defendant, and are obligated to pay these attorneys’ reasonable

         attorneys’ fees.

  11.    The Trustees have complied with all conditions precedent in bringing this suit.

         WHEREFORE, the Trustees respectfully request that this Court enter a Judgment

  against all Defendants, providing:

         a. An award of damages for all late fees, unpaid fringe benefit contributions and other

             payments due for payroll periods after February 1, 2018 together with all liquidated

             damages, interest; plus all reasonable attorneys’ fees and costs; and,

         b. Such other relief as is just and proper.

                                                       Respectfully submitted,

                                                       BY: /s/ D. Marcus Braswell, Jr.
                                                       D. MARCUS BRASWELL, JR. (146160)
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                                                       Attorneys for the Plaintiffs Trustees

                                                       This 22nd day of May, 2018




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